         Case 1:17-cr-00201-ABJ Document 369 Filed 08/10/18 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
IN THE MATTER OF THE                )
APPLICATION OF THE                  )
ASSOCIATED PRESS; CABLE             )
NEWS NETWORK, INC.; THE NEW         )
YORK TIMES CO.; POLITICO LLC;       )                Misc. Action No. 18-0041 (ABJ)
AND WP CO., LLC, d/b/a THE          )
WASHINGTON POST FOR ACCESS          )
TO CERTAIN SEALED                   )
COURT RECORDS                       )
____________________________________)

                                              ORDER

       A coalition of media organizations has filed an application seeking access to materials

generated in connection with an ongoing criminal investigation. The Court has issued several

orders in this matter to date, and therefore, it will not repeat all of the procedural and factual

background.

       With respect to what the Media Coalition has denoted as the “Warrant Materials,” the

Court has reviewed the proposed redactions to the five warrant applications submitted to the

Court in camera by the Office of Special Counsel in response to the Order dated July 9, 2018

[Dkt. # 14], as well as the response of defendant Paul Manafort to that Order [Dkt. # 11]. The

Court is prepared to rule on most of the redactions, but it has questions concerning whether some

of the subject matter proposed to be redacted may have been revealed during the course of the

pending trial in the Eastern District of Virginia.

       Therefore, the Office of Special Counsel and Manafort are hereby ORDERED to inform

the Court by two business days after the conclusion of the trial whether either party has any

continuing objection to the unsealing of the redacted material in the portions of the warrant

applications listed below:
 Case 1:17-cr-00201-ABJ Document 369 Filed 08/10/18 Page 2 of 4



17-mj-612 - Warrant for Search of Email Accounts

       The two email addresses (___@___.com) at issue in the application

       Affidavit in Support of the Application (“Aff.”) ¶ 6

       Aff. ¶ 13

       The names of the vendors in Aff. ¶ 18

       Aff. ¶ 20, page 12, lines 7–8

       Att. B, section II (c), page 28

17-mj-496 - Warrant for Search of Hard Drive

       Aff. ¶ 10

       Aff. ¶ 15

       Aff. ¶ 17, page 10, lines 12–15

17-mj-783, 17-mj-784, and 17-mj-785 - Warrants for Seizure of Bank Funds

       Aff. ¶ 10

       Aff. ¶ 27

       Aff. ¶¶ 31–36

       Aff. ¶ 49

       Aff. ¶ 51

       Aff. ¶ 54

       Aff. ¶ 60, specifically, the name of the entity at the end of line 3, carried over to
       line 4 (and repeated thereafter)

       Aff. ¶ 61, including fn. 9

       Aff. ¶ 65

       Aff. ¶ 67




                                         2
         Case 1:17-cr-00201-ABJ Document 369 Filed 08/10/18 Page 3 of 4



       The Office of Special Counsel and Manafort are FURTHER ORDERED to inform the

Court if any other information proposed to be redacted from the Warrant Materials that has not

been specifically identified in this order is now a matter of public record and may be revealed in

response to the pending application.

       With respect to what the applicants have referred to as “Manafort materials,” i.e., sealed

trial transcripts, pleadings, and the warrant applications for the storage unit and the Alexandria

residence, and upon consideration of the response submitted by defendant Manafort, it is

ORDERED that the motion to unseal the transcript of the January 22, 2018 hearing is

GRANTED IN PART and DENIED IN PART. The Court has endeavored to redact all specific

references to the defendant’s finances, but general comments about an order that was already on

the public record need not remain sealed.

       Upon consideration of the response submitted by defendant Richard Gates, filed in

United States v. Manafort, 17-CR-0201 (ABJ) [Dkt. # 365], it is FURTHER ORDERED that the

motion to unseal the transcripts of February 7, 2018 and February 14, 2018 is GRANTED IN

PART and DENIED IN PART. Portions of the transcripts that reflect attorney-client privileged

communication, private financial information, and home addresses will remain redacted.

       It is FURTHER ORDERED that the motion to unseal the filing at [Dkt. # 167] is

GRANTED IN PART and DENIED IN PART. Portions of the filing that reflect the names and

home addresses of non-parties will remain redacted.

       As for the two search warrant applications submitted to the U.S. District Court for the

Eastern District of Virginia for a storage unit and the defendant’s residence, on July 9, 2018, the

Court denied the Media Coalition’s request to unseal any materials that were still being withheld

from defendant Manafort at that time for the reasons set forth in its May 29, 2018 Order



                                                3
          Case 1:17-cr-00201-ABJ Document 369 Filed 08/10/18 Page 4 of 4



[Dkt. # 312] in the criminal case. See Order [Dkt. # 14] at 2, citing United States v. Manafort,

17-CR-0201, Order [Dkt. # 312]. It is ORDERED that the Office of Special Counsel must

inform the Court within two business days of the conclusion of trial in the Eastern District of

Virginia whether either of those warrant applications has been unsealed by the court in the

Eastern District of Virginia, and if not, whether they have been provided to the defendant in full,

and whether there is any material in the redacted portions of those warrants that became a matter

of public record during the trial.

       Finally, the Court notes that a copy of this order will be filed in United States v.

Manafort, 17-CR-0201, to facilitate the further unsealing of transcripts and filings on the docket

in that case consistent with this order.

       SO ORDERED.




                                                     AMY BERMAN JACKSON
                                                     United States District Judge

DATE: August 10, 2018




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